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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

Soe Ot Texas
HOUSTON DIVISION FILED

FEB 0 3 2010

UNITED STATES OF AMERICA, § Carkot Court:
Petitioner §
§

Vv. § CRIMINAL NO. H-10-040

§
JAMES EARL DUNN, JR. §
Respondent §

APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO THE HONORABLE JUDGE:

COMES NOW TIM JOHNSON, United States Attorney in and for the
Southern District of Texas, petitioner herein, and shows to the Court that JAMES
EARL DUNN, JR., now duly committed to the custody of the Federal Correctional
Institution, El Reno, OK, is a defendant in the above-captioned case which will be
called for the purpose of initial appearance and/or arraignment in the United States
District Court for the Southern District of Texas, Houston, Division, on Date:

Deb 02 , 2010, in Houston, Texas.

Petitioner further represents that the F ederal Correctional Institution, El Reno,
OK, will release the defendant into the custody of the United States Marshal for the
Southern District of Texas or any other authorized United States Marshal, upon this

Writ, with the agreement and understanding that after the federal proceedings

 

 
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necessitated by the cause, he is to be returned by the said United States Marshal into
the custody of the Bureau of Prisons, where he now stands duly committed by law.

WHEREFORE, petitioner prays the Court to issue a Writ of Habeas Corpus
Ad Prosequendum directing the United States Marshal for the Southern District of
Texas, or any other authorized United States Marshal, to produce the body of the said
defendant before this Court on Date: Te CC , 2010, so that he may be

present in this cause at that time.

Respectfully submitted,

TIM JOHNSON
UNITED STATES ATTORNEY

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